     Case 18-42737-can13                Doc 230        Filed 04/11/22         Entered 04/11/22 15:17:58                Desc
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                  IN THE UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF MISSOURI
In re: LAVETTE YVONNE TROTTER

                                                                           Case No.: 18-42737-can-13

                                     Debtor


                           NOTICE OF FILING FINAL REPORT AND ACCOUNT
                                     OF CHAPTER 13 TRUSTEE

    On April 09, 2022, Richard V. Fink, Standing Chapter 13 Trustee, filed a Final Report and Account
and has requested that the Court enter a final order discharging him as trustee, discharging him from
liability on his bond, and closing the estate of the above-named debtor(s) (ECF Document 227).

    On April 10, 2022, Court entered an Order Approving Final Account of Chapter 13 Trustee and
discharging the Chapter 13 Trustee as trustee of the estate (ECF Document 228).

    Pursuant to Fed. R. Bankr. P. 5009(a), if within 30 days of the filing of the Final Report and Account
no objection has been filed, there shall be a presumption that the estate has been fully administered.
Pleadings can be filed electronically at http://ecf.mowb.uscourts.gov. Parties not represented by an
attorney may mail a pleading to Court at 400 E. 9th St., Room 1510, Kansas City, MO 64106.


                                                                 Respectfully submitted,
         April 11, 2022
                                                                 /s/ Richard V. Fink, Trustee

                                                                 Richard V. Fink, Trustee
                                                                 2345 Grand Blvd., Ste. 1200
                                                                 Kansas City, MO 64108-2663
                                                                 (816) 842-1031


                                                    NOTICE OF SERVICE

The following parties will be served either electronically or by United States First Class Mail and a certificate of service will
be filed thereafter:

ALL PARTIES BASED ON THE MOST RECENT MATRIX FILED AT COURT
IRS INSOLVENCY SUPERVISORY REVENUE OFFICER (455200)
US ATTORNEY (75200)
US DEPARTMENT OF JUSTICE (561523)

                                                                 /s/ Richard V. Fink, Trustee

                                                                                                              JM/Notice - Final Report
